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                         IN THE UNITED STATES DISTRICT COUR'I~- ~+                         ,
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION      ~ : ~ L~.~ r ~ ~~ ~ ~ ~ ~

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UNITED STATES OF AMERICA,                               CASE NO.        . . T~'

                       Plaintiff,                                    ~ ~~~ -e~-a3~
                                                                                 Wits
                                                                                    ~ ~ dS~          `~
               v.                                       INDICTMENT
                                                        18 U.S.C. § 1951(a)
KEVIN LOREN DANIELS,                                    18 U.S.C. §§ 922(g)(1) and 924(a)(2)
                                                        18 U.S.C. § 924(c)(1)(A)(ii)
                       Defendant.




THE GRAND JURY CHARGES THAT:


                                              COUNT 1

                          [Interference with Commerce by Robbery]

       On or about November 26, 2021, in the Southern District of Ohio, defendant KEVIN

LOREN DANIELS did obstruct, delay and affect commerce, and the movement of articles and

commodities in commerce as those terms are defined in Title 18, United States Code, Section

1951, by robbery, as that term is defined in Title 18, United States Code, Section 1951(b)(3), to

wit, KEVIN LOREN DANIELS did unlawfully take and obtain United States Currency and

cellular telephones belonging to and in the care, custody, control, management and possession of

employees of the T-Mobile located at 5064 N. High Street; Columbus, Ohio, against their will by

means of actual and threatened force, violence, and fear of injury, immediate and future, to their

persons, that is by brandishing a firearm.

       In violation of 18 U.S.C. § 1951(a).
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                                                 COUNT 2

    [Using, Carrying, or Brandishing a Firearm During and in Relation to a Crime of Violence]

           On or about November 26, 2021, in the Southern District of Ohio, defendant KEVIN

    LOREN DANIELS knowingly used, carried and brandished a firearm, during and in relation to a

    crime of violence for which he may be prosecuted in a Court of the United States —namely,

    robbery.

           In violation of 18 U.S.C. § 924(c)(1)(A)(ii).




                                                 COUNT 3

                           [Possession of a Firearm by a Prohibited Person]

           On or about November 26, 2021, in the Southern District of Ohio, defendant KEVIN

i   LOREN DANIELS, knowing he had previously been convicted of a crime punishable by

    imprisonment for a term exceeding one year, possessed a firearm, that is, a loaded Springfield

    XD40, .40 caliber handgun, bearing serial number: XD461091, and the firearm was in and

    affecting interstate and foreign commerce.

           In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).




                                    FORFEITURE ALLEGATION

           1.      The allegations of this Indictment are realleged and by this reference fully

    incorporated herein for the purpose of alleging forfeitures to the United States of America

    pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).
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       2.     Upon conviction of one or more of the offenses alleged in this Indictment,

defendant KEVIN LOREN DANIELS shall forfeit to the United States all firearms and

ammunition involved in or used in such offense, including, but not limited to: a loaded

Springfield XD40, .40 caliber handgun, bearing serial number: XD461091, including all

ammunition.

       Forfeiture pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C. § 2461(c), and Rule 32.2 of the
Federal Rules of Criminal Procedure.


                                                    A TRUE BILL


                                                    s/Foresperson
                                                    FOREPERSON


KENNETH L. PARKER
United States Attorney




SHEILA G. LAFFERTY
Assistant United States Attorney




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